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    IN THE UNITED STATES DISTRICT COURT FOR THE SOUTHERN
                    DISTRICT OF MISSISSIPPI
                      SOUTHERN DIVISION


THE STATE OF MISSISSIPPI,
ex rel. LYNN FITCH, in Her
Official Capacity as Attorney General
of the State of Mississippi

      Plaintiff,

                                               Civil Action No. 1:20-cv-168-TBM-RPM

THE PEOPLE’S REPUBLIC OF CHINA,
THE COMMUNIST PARTY OF CHINA,
NATIONAL HEALTH COMMISSION OF
THE PEOPLE’S REPUBLIC OF CHINA,
MINISTRY OF EMERGENCY
MANAGEMENT OF THE PEOPLE’S
REPUBLIC OF CHINA, MINISTRY OF
CIVIL AFFAIRS OF THE PEOPLE’S
REPUBLIC OF CHINA, PEOPLE’S
GOVERNMENT OF HUBEI PROVINCE,
PEOPLE’S GOVERNMENT OF WUHAN
 CITY, WUHAN INSTITUTE OF VIROLOGY,
and CHINESE ACADEMY OF SCIENCES

      Defendants.


                    PLAINTIFF STATE OF MISSISSIPPI’S
                            PRE-TRIAL BRIEF



      COMES NOW, the Plaintiff, State of Mississippi, ex rel. Lynn Fitch, Attorney

General (hereafter “Mississippi”), and respectfully files this Pre-trial Brief and would

show unto the Court as follows:




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                                I.     INTRODUCTION

      China has inflicted substantial harm on the State of Mississippi through its

actions during the COVID-19 pandemic. It is clear that China knew about the

existence, dangers, and human-to-human transmissibility of COVID-19 long before

the rest of the world. Rather than comply with its moral and legal obligations to share

this information, China engaged in a concentrated campaign of deceit and

misinformation. Although likely aware of the existence of COVID-19 before

November 2019, and certainly aware of the human-to-human transmission of

COVID-19 in November 2019, Defendants repeatedly and loudly denied the

existence, and then transmissibility, of COVID-19 long after they knew their

statements were false. Defendants restricted the spread of any information related

to the virus, and publicly persecuted whistleblowers who tried to share this

information.

      While China and its agents were making these false representations, they were

aggressively buying up America’s supply of PPE and barring U.S. factories from

shipping PPE to the United States. By the time the world became fully aware of the

scope of the COVID-19 pandemic, it was too late—Defendants had already spent

weeks (if not months) hoarding PPE. The resulting effects of China’s hoarding were

predictable: PPE shortages in the State of Mississippi at a time the medical system

needed the supplies the most, and costs many times higher for those who were able

to acquire the scant supply.




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      Reports and previously classified documents obtained from the federal

government clearly paint this picture. The Department of Homeland Security, for

example, has concluded that “the Chinese Government intentionally concealed the

severity of COVID-19 from the international community . . . while it stockpiled

medical supplies.”[Department of Homeland Security, New Analytic Technique

Indicates China Likely Hid Severity of Covid-19 from the International Community

While It Stockpiled Medical Supplies (May 1, 2020), Exhibit 1]. The State

Department, in a heavily redacted memo, suggests that Defendants knew about

COVID-19 “earlier than they admit” and China’s Chairman “Xi lied to obfuscate his

role in the cover-up.” [United States State Department Memorandum, Subject: Say

PRC Central Government – Not Local Officials – Responsible for the Coronavirus

Cover-Up, Exhibit 2]. The Congressional Research Service agrees, concluding that

China nationalized control of U.S. factories to prevent the export of PPE to the United

States and engaged in large-scale purchases of PPE that “depleted existing supplies

in the United States.” [Sutter, et al.; Cong. Rsch. Serv. R46304. Covid-19 China

Medical Supply Chains and Broader Trade Issues 15 (December 23, 2020), Exhibit

3]. To make matters worse, all of these actions occurred concurrent to (and, indeed,

likely in coordination with) Defendants’ long-running campaign to obfuscate and

mislead the world on critical information about the COVID-19 virus and the

ballooning pandemic. As the U.S. Office of the Director of National Intelligence

reports, rather than engage in a transparent sharing of information about the

COVID-19 pandemic, Defendants hindered research into the virus, resisted sharing



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information and blamed other countries, including the United States. [Office of the

Director of National Intelligence, Updated Assessment on Covid-19 Origins, Exhibit

4]. All of this was done in a continuing attempt by Defendants to avoid responsibility

for their actions during the early days of the COVID-19 pandemic.

      What cannot be disputed is the incredible cost Defendants’ actions have

imposed on Mississippi, including in terms of lives lost, businesses ruined, and other

effects still felt to this day. In response to these harms, Attorney General Lynn Fitch,

on behalf of the State of Mississippi and its citizens, sued The People’s Republic of

China, the Communist Party of China, and other related Defendants to recover

damages for the injuries Defendants’ actions inflicted on the State and its citizens.

Defendants, despite being served by Mississippi, refused to appear and answer for

their actions. As a result, each has defaulted on Mississippi’s claims against them.

      The evidence establishes that Defendants breached numerous state and

federal regulatory and statutory duties preventing the kinds of anticompetitive

commercial behaviors Defendants engaged in during the early days of the COVID-19

pandemic. Among this evidence is proof that Defendants nationalized U.S. factories

in China, with Chinese officials directly seizing control of PPE production and

refusing to allow U.S. companies to supply Mississippi (and the rest of the United

States) with much-needed masks. This had a predictable effect, multiplying China’s

PPE production several times over while depriving the United States of production

by overseas U.S. companies. At the same time China—despite being the source of

much of the world’s PPE supply—began aggressively purchasing PPE manufactured



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or for sale in the United States. In January, 2020, alone, China imported 56 million

respirators and surgical masks from the global market. [Bradsher and Alderman,

The World Needs Masks. China Makes Them But Has been Hoarding Them, New

York Times, March 13, 2020, Exhibit 5]. As a report published by Congress remarked,

these efforts likely exacerbated the medical supply shortages in the United States.

[Sutter].

                                II.      PROCEDURAL HISTORY

       Mississippi filed its Complaint on May 12, 2020. [Dkt. #1]. Pursuant to the

Convention on the Service Abroad of Judicial and Extrajudicial Documents in Civil

or Commercial Matters (“Hague Service Convention”) and the Foreign Sovereign

Immunity Act, 28 U.S.C. § 1608(a)(2) (“FSIA”), Mississippi sent a request to China’s

Central Authority to serve Defendants on or about August 17, 2021. On February 22,

2022, Mississippi received notice from the Ministry of Justice, People’s Republic of

China that service was rejected under Article 13 of the Hague Service Convention

because, “[t]he execution of the request would infringe the sovereignty or security of

the People’s Republic of China (Article 13).” [Dkt. #12]. Article 13 of the Hague

Service Convention permits rejection of properly submitted service requests “only if

it deems that compliance would infringe its sovereignty or security.”1

       On April 27, 2022, Mississippi delivered documents to the Clerk’s Office to

serve Defendants People’s Republic of China, People’s Government of Hubei Province,

People’s Government of Wuhan City, National Health Commission of the People’s


1 Convention on the Service Abroad of Judicial and Extrajudicial Documents in Civil or Commercial

Matters, Article 13, November 15, 1965 f4520725-8cbd-4c71-b402-5aae1994d14c.pdf (hcch.net).

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Republic of China, Ministry of Emergency Management of the People’s Republic of

China, and the Ministry of Civil Affairs of the People’s Republic of China to the

Clerk’s Office. The Clerk transmitted these documents to the U.S. Department of

State on the same day.

       Following communication of receipt from the U.S. Department of State,

Mississippi provided translated copies of the reissued summons to the U.S.

Department of State via the Clerk’s Office, and the U.S. Department of State initiated

the process of serving the governmental Defendants via diplomatic channels.

Mississippi received the diplomatic notes from the U.S. Department of State

confirming that service was effectuated for the Defendants and filed them with this

court. 28 U.S.C. § 1608(a)(4)2.

       As of today’s date, even as additional declassified intelligence and investigative

reporting uncover further details of China’s complicity in the COVID-19 pandemic,

Defendants have failed to answer or otherwise defend against Mississippi’s

Complaint.     In fact, the package of diplomatic notes included a letter from the

Ministry of Foreign Affairs of the People's Republic of China stating that they have

no intention to “participate” in Mississippi’s lawsuit. Exhibit A.

                               III. STANDARD OF REVIEW

       The authority to grant a default judgment against the Defendants is found in

Fed. R. Civ. P. 55(b)(2). Further, a decision to enter a default judgment is reviewed



2 Mississippi served non-govermental Defendants Communist Party of China, Wuhan Institute of
Virology, and the Chinese Academy of Sciences on January 5, 2024. [Dkt. #56, 57, 58].


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only for an abuse of discretion. SUA Ins. Co. v. Buras, 421 Fed. Appx. 384, 385 (5th

Cir. 2011) (citing Rogers v. Harford Life & Accident Co., 167 F.3d 933, 936 (5th Cir.

1999)). “A defendant, ‘by his default, admits the plaintiff's well-pleaded allegations

of fact.’” Allstate Property & Cas. Ins. Co. v. Pickett, 2014 WL 202758, at 1 (S.D. Miss.

2014) (quoting Nishimatsu Constr. Co., Ltd. v. Houston Nat'l Bank, 515 F.2d 1200,

1206 (5th Cir.1975)). A default judgment is proper “if those well-pleaded factual

allegations establish a valid cause of action…” Pickett, 2014 WL at 1 (quoting

Nishimatsu Constr. Co., 515 F.2d at 1206). The Defendants have failed to respond or

otherwise defend against Mississippi’s Complaint, and a default judgment should be

entered against them.

      Defendants have not only failed to respond to Mississippi’s Complaint, but they

also sent a letter, in returning the diplomatic notes, addressed from the Ministry of

Foreign Affairs of the People’s Republic of China stating, “China does not recognize

and will not participate in these two vexatious litigation lawsuits.” Exhibit A.

(referencing Mississippi’s case and another private case pending in Florida).

              IV. DEFAULT JUDGMENT IS PROPER IN THIS CASE

      In determining whether to enter a default judgment, the Fifth Circuit requires

district courts to examine six factors: “(1) whether material issues of fact exist; (2)

whether there has been substantial prejudice; (3) whether the grounds for default are

clearly established; (4) whether the default was caused by a good faith mistake or

excusable neglect; (5) the harshness of a default judgment; and (6) whether the Court

would consider itself obligated to set aside a default on the defendant's motion.”



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Lindsayca USA, Inc v. de Venezuela, 2022 WL 3588041 at *4 (S.D. Tex. Aug. 22, 2022)

(citing Lindsey v. Prive Corp., 161 F.3d 886, 893 (5th Cir. 1998)).

      First, as in Lindsayca, there are no material issues of fact. “Because

[Defendants] have failed to answer the lawsuit, they are deemed to have admitted

the allegations against them set forth in the Complaint.” Lindsayca, 2022 WL

3588041 at *4. Second, there is no prejudice to Defendants. They were properly served

and, other than to call Mississippi’s suit “vexatious,” Defendants “failed to respond to

the lawsuit.” Id. Third, the grounds for default are clearly established in the

complaint and below. Fourth, there is no excusable neglect on the part of the

Defendants. Defendants have instead advised that, though they have been properly

served, they will not “participate” in Mississippi’s lawsuit. Exhibit A. Fifth, a default

judgment would not be harsh “when [Defendants] have not even bothered to respond

to the lawsuit,” especially considering the harm alleged in the Complaint. Id. Sixth,

Mississippi knows of no facts that would cause the court to set aside the default

judgment should it be challenged at a later date.

      Courts have applied a “lenient standard” for factual findings by a trial court in

FSIA default hearings, recognizing that “firsthand evidence and eyewitness

testimony is difficult or impossible to obtain from an absent and likely hostile

sovereign.” Owens v. Republic of Sudan, 864 F.3d 751, 785 (D.C. Cir. 2017) (reversed

on other grounds). “Given the difficulty of obtaining direct proof of the types of

conduct for which the FSIA provides a remedy, the statute permits courts to credit




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indirect evidence and to impose a lower evidentiary burden than they might apply in

a different context.” Saharkhiz v. Islamic Republic of Iran, case no. 19-cv-2938, 2023

WL 9196605, at *5 (D.D.C. Oct. 16, 2023) (slip copy). Such an evidentiary standard is

especially appropriate here, where Defendants have “refused to appear in court and

subject [themselves] to discovery, and [are] known to intimidate defectors and

potential witnesses.” Han Kim v. Democratic People’s Republic of Korea, 774 F.3d

1044, 1048 (D.C. Cir. 2014). In such situations, “the Supreme Court has ‘recognize[d]

very realistically’ that courts have the authority—indeed, we think, the obligation—

to ‘adjust [evidentiary requirements] to … differing situations.’” Id. (citing Bundy v.

Jackson, 641 F.2d 934, 951 (D.C. Cir. 1981); McDonnell Douglas Corp. v. Green, 411

U.S. 792, 804 (1973)); see also Thuneibat v. Syrian Arab Republic, 167 F.Supp.3d 22,

33 (D.D.C. 2016) (citing Han Kim). This approach recognizes the inherent difficulties

of a plaintiff litigating a case (something normally not necessary against a defaulting

defendant) against a party for which the plaintiff cannot seek or obtain discovery (a

limitation not normally the case if the defendant appears and responds to the

lawsuit). In other words, the standard recognizes the practical realities of

demonstrating a claim against a hostile (and defaulting) state, and “is part of the risk

a sovereign runs when it does not appear” after it has been properly served. Id. at

786.

       “A plaintiff may submit multiple types of evidence to support FSIA claims,

including ‘testimony, documentation, and affidavits.’” Saharkhiz, 2023 WL 9196605,

at *5 (quoting Miango v. Democratic Republic of Congo, 288 F.Supp.3d 117, 123



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(D.D.C. 2018) (citing cases) (vacated on other grounds)). For example, a plaintiff may

establish a defaulting foreign state defendant’s liability through “evidence in the form

of live testimony, videotaped testimony, affidavit, and original documentary and

videographic evidence.” Owens, 826 F.Supp.2d at 135; see also Karcher v. Islamic

Republic of Iran, 396 F.Supp.3d 12, 16 n.3 (D.D.C. 2019) (allowing “official U.S.

Government reports, records, and statements” as evidence in a FSIA default hearing

“[u]nder the public records exception to the hearsay rule.”); Rux v. Republic of Sudan,

495 F.Supp.2d 541, 544 (E.D. Va. 2007) (including as evidence at the FSIA hearing

“unclassified U.S. Department of State Reports; the 9/11 Commission Report; Final

Report of the National Commission on Terrorist Attacks Upon the United States” and

“a transcript of federal criminal proceedings against Osama Bin Laden in 2001.”);

Sotloff v. Syrian Arab Republic, 525 F.Supp.3d 121, 127 n.1–n.3 (considering as

evidence in a FSIA default hearing “The State Department Overview of State-

Sponsored Terrorism” as “a public record,” taking “judicial notice of facts” found in

other judicial decisions in that circuit, and “written testimony and reports of

Plaintiffs’ expert witnesses.”); Elahi, 124 F.Supp.2d at 99–100 (noting that the court

accepted 105 documentary exhibits in a FSIA trial against defendants who were in

default); Saharkhiz, 2023 WL 9196605, at *8 (considering evidence composed of the

plaintiff’s “own testimony and several news articles, publications, and reports”

documenting the plaintiff’s claims); Calderon-Cardona v. Democratic People’s

Republic of Korea, 723 F.Supp.2d 441, 460–61 (D.P.R. 2010) (finding that plaintiffs




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satisfied their burden of the FSIA through “live and affidavit testimony” and

“affidavits and reports.”).

      In the matter now before this Court, evidence clearly shows that the

Defendants, through their course of conduct, should be held liable in this case. To

support these claims, the State will introduce the following documents at the

evidentiary hearing:

      Exhibit 1:    Department of Homeland Security, New Analytic Technique
                    Indicates China Likely Hid Severity of Covid-19 from the
                    International Community While It Stockpiled Medical Supplies
                    (May 1, 2020)

      Exhibit 2:    United States State Department Memorandum, Subject:       Say
                    PRC Central Government – Not Local Officials – Responsible for
                    the Coronavirus Cover-Up

      Exhibit 3:    Sutter, Covid-19: China Medical Supply Chains and Broader
                    Issues (December 23, 2020), Congressional Research Service

      Exhibit 4:    Office of the Director of National Intelligence, Updated
                    Assessment on Covid-19 Origins

      Exhibit 5:    Bradsher and Alderman, The World Needs Masks. China Makes
                    Them, But Has Been Hoarding Them, New York Times; March
                    13, 2020

      Exhibit 6:    Marco Rubio, A Complex and Grave Situation:           A Political
                    Chronology of the Sars-Cov-2 Outbreak

      Exhibit 7:    John Ratcliffe, Holding China Accountable for its Role in the Most
                    Catastrophic Pandemic of Our Time: Covid –19

      Exhibit 8:    Minority Staff of House Comm. on Foreign Affairs, Report on the
                    Origins of the COVID-19 Global Pandemic, Including the Roles of
                    the Chinese Communist Party and the World Health
                    Organization




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      Exhibit 9:    Minority Staff of House Comm. on Foreign Affairs, Report on the
                    Origins of the COVID-19 Global Pandemic: An Investigation of
                    the Wuham Institute of Virology

      Exhibit 10: United States State Department, Fact Sheet Activity at the
                  Wuhan Institute of Virology (January 15, 2021)

      Exhibit 11: Cecire, Covid-19 and Domestic PPE Production and Distribution:
                  Issues and Policy Options (December 7, 2020), Congressional
                  Research Service

      A.     Count I: Defendants Violated the Mississippi Consumer Protection Act

      As originally set forth in the State’s Memorandum in Support of Motion for

Default Judgment [Dkt. #81], the Mississippi Consumer Protection Act (“MCPA”)

Miss. Code Ann. § 75-24-1 et seq., governs prohibited acts and practices relating to

unfair methods of competition affecting commerce and unfair or deceptive trade

practices in or affecting commerce. Under § 75-24-5(1), there is a general prohibition

against “Unfair methods of competition affecting commerce and unfair or deceptive

trade practices in or affecting commerce.” For instance, the Mississippi Supreme

Court upheld a chancery court finding that a drug manufacturer’s practice of

reporting fictitious prices constituted an unfair or deceptive practice. In re

Mississippi Medicaid Pharmaceutical Average Wholesale Pricing Litigation , 190 So.

3d 829, 841-42 (Miss. 2015).

      What constitutes an unfair or deceptive trade practice in Mississippi is guided

by, but not limited to, interpretations of the Federal Trade Commission Act from the

Federal Trade Commission and federal courts, 15 U.S.C. 45(a)(1). Miss. Code Ann. §

75-24-3(c); Watson Labs., Inc. v. State, 241 So. 3d 573, 590 (Miss. 2018). The Supreme

Court has determined that a particular act or practice is unfair or deceptive if it has

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the capacity or tendency to deceive. FTC v. Raladam Co., 316 U.S. 149, 152 (1942).

Here, the evidence presented to this Court establishes that the Defendants took many

affirmative steps to hide information about COVID-19 from Mississippi and the

world, including the virus’ transmission capabilities, by suppressing vital and

potentially life-saving medical information while spreading misinformation. This

deception left Mississippi without crucial information needed to prepare for a global

pandemic. Second, the evidence in this case supports that the Defendants hoarded

personal protective equipment (“PPE”) for the purpose of cornering the market,

knowing that there would soon be a global uptick in demand. Third, the evidence

presented shows that, after nationalizing PPE production and distribution,

defendants misrepresented that the PPE sold was of a certain type and quality, when

it was not, in direct violation of Miss. Code Ann Section 75-24-5(2)(e) and (g).

      In response to a serious health threat, Defendants took action to contain

information that was critical to mitigating the effects of COVID-19. Defendants’

actions left Mississippi and the world at large with a lack of information, that only

the Defendants possessed, which prevented Mississippi and others from taking

reasonable precautionary measures in response to the then-unknown threat. The

Defendants capitalized on this information asymmetry to hoard and raise prices of

PPE, products the Defendants knew would be crucial in combatting the spread of the

disease. It was not only Defendants’ act of omission – concealing the seriousness of

COVID-19 – but also actions of commission, i.e. profiteering in the PPE market, that

constitute unfair and deceptive trade practices.



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       Defendants first began suppressing information about COVID-19 within

China. [Dkt. #1, ¶¶ 68-70 (citing Yong Xiong, et al., This Chinese Doctor Tried to

Save Lives, but Was Silenced. Now He Has Coronavirus, CNN (Feb. 4, 2020),

available    at:    https://www.cnn.com/2020/02/03/asia/coronavirus-doctor-whistle-

blower-intl-; Jeremy Page, et al., How It All Started: China’s Early Coronavirus

Missteps, THE WALL STREET JOURNAL (Mar. 6, 2020)]. On December 30, 2019,

the Wuhan Municipal Health Commission released a notice that prohibited

individuals or institutions from releasing treatment information to the public without

authorization. [Dkt. #1, ¶ 69 (citing Xiong, This Chinese doctor Tried to Save Lives,

but Was Silenced. Now He Has Coronavirus). Information about the virus shared on

social media was stopped and key words were censored. [Dkt. #1, ¶¶ 70-72 (citing

Page, How It All Started; Lotus Ruan, et al., Censored Contagion How Information

on the Coronavirus is Managed on Chinese Social Media, UNIV. OF TORONTO, THE

CITIZEN LAB (Mar. 3, 2020)]. Police action was taken against Chinese citizens who

tried to share information via social media. [Dkt. #1, ¶¶ 73-76, 82 (citing Xiong, This

Chinese Doctor Tried to Save Lives, but Was Silenced; Xie Haunchi, Six Days of

Silence When China Didn't Warn Public of Likely Pandemic, ST. LOUIS POST

DISPATCH (April 16, 2020), available at: https://www.stltoday.com/news/sixdays-of-

silence-when-china-didnt-warn-public-of-likely-pandemic/article_ae11db70-6704-

5b49-8040-78bf21579e07.html.)]. On January 1, 2020, Dr. Ai Fen, who ran an

emergency department at a Wuhan hospital ordered her staff to wear masks,

suspecting human-to-human transmission. [Dkt. #1, ¶ 78 (citing Page, How It All



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Started.)]. The next day, Dr. Fen was censured by the hospital’s disciplinary

department for spreading rumors, and hospital leadership banned staff from

discussing the virus in public or via text messaging. [Dkt. #1, ¶ 79 (citing Page, How

It All Started.)]. On January 3, 2020, Defendant National Health Commission of the

People’s Republic of China ordered institutions to refrain from publishing any

information about the disease and ordered labs to either transfer samples to

designated institutions or destroy the samples. [Dkt. #1, ¶ 83 (citing Xiong, This

Chinese Doctor Tried to Save Lives, but Was Silenced.)].

        Defendants stalled virus testing efforts and delayed the release of information

about the virus. On January 1, 2020, a genomics company received a call from an

official at the Hubei Provincial Health Commission ordering the company to stop

testing and destroy all existing virus samples from Wuhan. [Dkt. #1, ¶ 77 (citing Gao

Yu, et al., How Early Signs of the Coronavirus Were Spotted, Spread and Throttled

in     China,   THE    STRAIGHT       TIMES      (Feb.   28,   2020),    available   at:

https://www.straitstimes.com/asia/east-asia/how-early-signs-of-the-coronavirus-

were-spotted-spread-and-throttled-in-china)]. On January 2, 2020, the Wuhan

Institute of Virology completed sequencing the virus’ genome. [Dkt. #1, ¶¶ 80-81

(citing Xiong, This Chinese Doctor Tried to Save Lives, but Was Silenced.)]. On

January 5, 2020, a medical research center in Shangai notified Defendant National

Health Commission of the People’s Republic of China that one of their professors had

mapped the genome as well. [Dkt. #1, ¶ 85 (citing Xiong, This Chinese Doctor Tried

to Save Lives, but Was Silenced.)]. On January 9, 2020, Chinese authorities publicly


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announced that the outbreak originated from a novel coronavirus. [Dkt. #1, ¶ 90

(citing Xiong, This Chinese Doctor Tried to Save Lives, but Was Silenced.)]. However,

even though the virus was rapidly spreading and time was of the essence, they waited

a week, until January 12, 2020, to share the genome with the international

community. [Dkt. #1, ¶ 93 (citing Xiong, This Chinese Doctor Tried to Save Lives, but

Was Silenced.)]. In 2023, the Director-General of the World Health Organization

(“WHO”), Tedros Adhanom Ghebreyesus, said that the newly disclosed genetic

material should have been shared when the first cases were detected in Wuhan in

late 20193.

       To make matters worse, information released by Defendants to the public was

dangerously deceptive and contradicted then-existing evidence. On January 5, the

WHO released a statement that information provided by the Chinese investigation

team found “’no evidence of significant human-to-human transmission.’” [Dkt. #1, ¶

87 (citing World Health Organization, Disease Outbreak News, Pneumonia of

Unknown       Cause      –     China      (Jan.     5,    2020),     available     at:

https://www.who.int/emergencies/disease-outbreak-news/item/2020-DON229].          On

January 8, 2020, the WHO released another statement, again relying on information

from Chinese officials, recommending no travel or trade restrictions with China. [Dkt.

#1, ¶ 89 (citing World Health Organization, WHO Statement Regarding Cluster of




3Joe McDonald, China Health Officials Lash Out at WHO Chief, Defend Search for
Origin    of     COVID-19,        PBS  (Apr.     8,      2023)     available     at:
https://www.pbs.org/newshour/world/china-health-officials-lash-out-at-who-chief-
defend-search-for-origin-of-covid-19
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Pneumonia     Cases      in   Wuhan,   China    (Jan.   9,    2020),    available   at:

https://www.who.int/china/news/detail/09-01-2020-who-statement-regarding-

cluster-of-pneumonia-cases-in-wuhan-china.)]. On January 11, 2020, the Wuhan City

Health Commission issued a statement saying that “no related cases have been

found” and that “no clear evidence of human-to-human transmission has been

found.”[Dkt. #1, ¶ 92 (citing Jim Geraghty, The Comprehensive Timeline of China’s

COVID-19     Lies,    NATIONAL     REVIEW      (March   23,   2020),    available   at:

https://www.nationalreview.com/the-morning-jolt/chinas-devastating-lies)].

      Defendants continued the campaign of denial or silence even as the virus

spread beyond China’s borders. The first case of COVID-19 was reported outside of

China on January 13, 2020, but Chinese officials continued to deny human-to-human

transmission. [Dkt. #1, ¶¶ 94-97 (citing Yu, How Early Signs of the Coronavirus Were

Spotted, Spread and Throttled in China; Geraghty, The Comprehensive Timeline of

China’s COVID-19 Lies.)]. When President and General Secretary Xi Jinping, leader

of Defendants the People’s Republic of China and the Communist Party of China,

made his first public statement on the crisis on January 20, 2020, he was silent on

the question of human-to-human transmission. [Dkt. #1, ¶ 98 (citing Page, How It All

Started.)]. By the time this official statement was made millions of travelers had

passed through Wuhan, and an estimated 3,000 additional people were infected. [Dkt.

#1, ¶ 99 (citing Yu, How Early Signs of the Coronavirus were Spotted, Spread and

Throttled in China.)].




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      A week after the virus had spread beyond China’s borders, on January 20,

2020, Chinese authorities confirmed that human-to-human transmission was

occurring. [Dkt. #1, ¶ 100 (citing Yu, How Early Signs of the Corona Virus Were

Spotted, Spread and Throttled in China; Kuo, China Confirms Human-to-Human

Transmission of Coronavirus, THE GUARDIAN (Jan. 20, 2020), available at:

https://www.theguardian.com/world/2020/jan/20/coronavirus-spreads-to-beijing-as-

china-confirms-new-cases.)]. This was confirmed by the WHO after conducting an

investigation in China on January 20 and 21, 2020. Even after confirming human-to-

human transmission, China continued to mislead Mississippi and the world about

key statistics of COVID-19 and to spread other misinformation. [Dkt. #1, ¶¶ 103-105

(citing Neuman, China Raises Wuhan Death Stats By Half To Account For Reporting

Delays And Omissions, NATIONAL PUBLIC RADIO (April 17, 2020), available at:

https://www.npr.org/sections/coronavirus-live-updates/2020/04/17/836700806/china-

raiseswuhan-death-stats-by-half-to-account-for-reporting-delays-and-omiss.; Frank

Miles, 2 Wuhan Whistleblowers Missing Months After Helping Expose Coronavirus

Outbreak,   Activists   Say,   FOX    NEWS    (April   15,   2020),    available   at:

https://www.foxnews.com/world/wuhan-whistleblowers-missing-exposing-

coronavirus; Betz, Guest on Chinese-Produced Arabic-language Program Claimed US

May be to Blame for Coronavirus Pandemic, FOX NEWS (April 19, 2020), available

at:           https://www.foxnews.com/world/chinese-arabic-language-program-us-

coronavirus-pandemic.)].




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         In early February of 2020, the Chinese government nationalized control of the

production and distribution of PPE and other medical supplies 4. Not only did China

take over factory production located within China, including those factories that once

made masks on behalf of American companies, but they also ramped up imports of

PPE. [Dkt. #1, ¶¶ 118-120 (citing Keith Bradsher, et al., The World Needs Masks.

China Makes Them, but Has Been Hoarding Them, N.Y. TIMES (Mar. 13, 2020),

available        at:      https://www.nytimes.com/2020/03/13/business/masks-china-

coronavirus.html.)].

         Having cornered the market on PPE production and possessing a hoard of

supplies in the face of a global pandemic, Chinese manufacturers, under the control

of the Chinese government, increased the price on these critical supplies. [Dkt. #1, ¶

121 (citing Kaplan, Peter Navarro: China 'Cornered' the Personal Protective

Equipment Market and 'Is Profiteering' During Coronavirus Outbreak, FOX NEWS

(April     19,   2020),   available   at:        https://www.foxnews.com/media/peter-

navarro?msockid=15af3a6b9bfe6d00112f509ae96c3a]. As early as March 2020, the

WHO reported that the price of surgical masks increased sixfold, N95 masks

increased threefold, and surgical gowns doubled5. In April of 2020, a Canadian news

source reported that Chinese manufacturers increased the price of N95 masks


4MICHAEL H. CECIRE, CONG. RESEARCH SERV., R46628, COVID-19 AND DOMESTIC
PPE PRODUCTION AND DISTRIBUTION: ISSUES AND POLICY OPTIONS, DEC. 7, 2020
https://crsreports.congress.gov/product/pdf/R/R46628.
5Burki, Global Shortage of Personal Protective Equipment, SCIENCE DIRECT (July
2020), available at:
https://www.sciencedirect.com/science/article/pii/S1473309920305016?ref=pdf_down
load&fr=RR-2&rr=7e2145979ba12447.
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fivefold. Canada Donated Masks to China. Chinese Mask Makers Now Price-Gouging

Canada,        THINKPOL         (Apr.          29,     2020)          available     at:

https://thinkpol.ca/2020/04/29/canada-donated-masks-china-now-chinese-mask-

makers-now-price-gouging-canada/ The Washington Post reported that White House

officials believed China’s actions were a “deliberate attempt by China to corner the

market as it concealed and downplayed the danger posed by the outbreak”. [Dkt. #1,

¶ 122 (citing Juliet Eilperin, et al., U.S. Sent Millions of Face Masks to China Early

This Year, Ignoring Pandemic Warning Signs, WASHINGTON POST (April 18,

2020), available at: https://www.washingtonpost.com/health/us-sent-millions-of-face-

masks-to-china-early-this-year-ignoring-pandemic-warning-

signs/2020/04/18/aaccf54a-7ff5-11ea-8013-1b6da0e4a2b7_story.html)].

      Without limiting the broad language conferred by subsection (1) of the MCPA,

Miss. Code Ann. § 75-24-1 et seq, subsection (2) specifies certain acts and practices

that violate this provision as well. One such prohibition includes the act of

“[r]epresenting that goods or services are of a particular standard, quality, or grade,

or that the goods are of a particular style or model, if they are of another[.]” Miss.

Code Ann. § 75-24-5(2)(g). Under the rule set forth in Miss. Code § 75-24-5(2)(g),

defendants misrepresented the standard, quality, and grade of PPE the state of

Mississippi received from China.

      The PPE, which China actually sold, was not only overpriced but also faulty

and not the N95 and KN95 grade represented. [Dkt. #1, ¶ 124 (citing Brunnstrom, et

al., U.S. Asks China to Revise Export Rules for Coronavirus Medical Gear, REUTERS



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(April 16, 2020), available at: https://www.reuters.com/article/heathcoronavirus-usa-

china/us-asks-china-to-revise-export-rules-for-coronavirus-medical-

gearidUSL1N2C502N)]. A news report explained, “as its name advertises, the KN95

mask is meant to filter out 95% of aerosol particles.”6 A study conducted by a nonprofit

patient organization, ECRI, found that up to 70% of KN95 masks imported from

China did not meet these purported filtration standards. Id. Mississippi purchased

N95 and KN95 masks manufactured in China7. An article on May 20, 2020, cited the

executive director of the Mississippi Emergency Management Agency (“MEMA”) who

estimated that as of that time, Mississippi had purchased four million masks. Id.

While reliance is not a required element of the MCPA, Mississippi purchased these

masks believing them to be of their purported quality, when they were not.

       B.    Count II: Defendants Violated the State’s Antitrust Laws

       Mississippi also analyzed the Defendants’ violations of its antitrust laws in its

Memorandum in Support of Motion for Default Judgment. [Dkt. #81]. To restate,

Miss. Code Ann. § 75-21-1 establishes the State’s antitrust laws. Miss. Code Ann. §

75-21-3 governs unilateral anticompetitive conduct and, in part, prohibits unilateral

action to “restrain or attempt to restrain the freedom of trade or production.” The



6Rodriguez, Up to 70% of KN95 Masks Imported from China Don’t Meet Filtration
Standards,   Study Says, USA TODAY (Sept. 22, 2020), available at:
https://www.usatoday.com/story/news/health/2020/09/22/covid-kn-95-marks-
imported-china-dont-meet-standards-ecri/5806327002
7 Giacomo Bologna, Mississippi Emergency Agency Spent $20M On Coronavirus
Supplies. Here’s What We Bought, CLARION LEDGER (May 20, 2020), available
at: Mississippi coronavirus: MEMA spent millions on N95 masks from China
(clarionledger.com).
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restraint of trade must be unreasonable and be done “to a degree inimical to the public

welfare.” Miss Code Ann. § 75-21-3; Brown v. Staple Cotton Coop. Ass'n, 96 So. 849,

855 (1923) (“There must be an unreasonable or undue restraint of trade. It must be

such a restraint of trade as is detrimental to the public interest.). Intent is not

required for a unilateral violation of Mississippi state antitrust law. Miss Code Ann.

§ 75-21-3 (“with intent to accomplish the results herein prohibited or without such

intent…”) (emphasis added).

       Defendants began their campaign to unlawfully restrain the freedom of trade

by nationalizing the production and distribution of PPE and other medical supplies.

[Dkt. #1, ¶¶ 118-119 (citing Bradsher, The World Needs Masks); CECIRE, CONG.

RESEARCH SERV., R46628]. Defendants diminished the available supply of PPE in

the global market by importing large quantities of PPE to hoard, in what former

White House officials believed to be a “’deliberate attempt by China to corner the

market.’” [Dkt. #1, ¶ 122 (citing Eilperin, U.S. Sent Millions of Face Masks to China)].

In addition, a Congressional Research Service report shows that in early February of

2020, China’s Ministry of Commerce “directed its bureaucracy, local governments and

industry to secure critical technology, medical supplies, and medical-related raw

material inputs from the global market, a situation that likely further exacerbated

supply shortages in the United States and other markets8 The same report explains




Karen M. Sutter, et al., CONG. RESEARCH SERV., R46304, COVID-19: CHINA
8

MEDICAL SUPPLY CHAINS AND BROADER TRADE ISSUES, DEC. 7, 2020 COVID-19: China
Medical Supply Chains and Broader Trade Issues (congress.gov) CRS Report
R46304.
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that these policies led to steep increases in the Chinese import of PPE and

“contributed to sharp decreases in China’s exports of these critical medical products

to the world.” Id. Defendants further restrained the trade of PPE by imposing export

restrictions on PPE. [Dkt. #1, ¶ 123 (citing O’Keeffe, China’s Export Restrictions

Strand Medical Goods.)].

       Defendants’ actions placed an undue or unreasonable restraint on the trade of

PPE. Defendants restrained the trade of PPE in furtherance of their efforts to control

supply and garner profit. PPE. [Dkt. #1, ¶ 121 (citing Kaplan, Peter Navarro: China

‘Cornered’ the Personal Protective Equipment Market.)]. And it was clearly to a

degree that was “detrimental to the public interest.” Staple Cotton, 96 So. at 855.

Defendants hoarded PPE supplies, exacerbating the supply shortage in a time of

global need. Even a year after the President’s proclamation declaring a national

emergency concerning COVID-19, Mississippi hospitals were still experiencing PPE

supply shortages9. The shortage in PPE also led to steep price increases, with at least

one Mississippi hospital director reporting an increase of over six dollars per mask.

Id. (from approximately $1.25/mask to $7.50/mask). Mississippi, and others, did not

know how vital masks would be in combatting the spread of COVID-19, because of

Defendants’ actions to conceal information about the virus, and were subsequently

forced to pay inflated prices as a further result of the Defendants’ actions.




9John Fitzhugh, Hospitals Still Seeing Higher Prices for PPE, Causing Logistic and
Financial    Challenges,    WLOX        (Mar.    10,     2021),    available    at:
https://www.wlox.com/2021/03/11/price-gouging-by-suppliers-affecting-hospitals

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       The detriment to the public, resulting from the shortage of PPE, goes beyond

economic harm. The lack of access to a critical health care supply during a global

pandemic endangered the lives and safety of countless citizens, particularly

Mississippi’s health care workers.

       Defendants have also violated Mississippi’s antitrust statutes by engrossing

and forestalling trade. [Dkt. #1, ¶ 134]. Mississippi’s antitrust statutes additionally

prohibit unilaterally “engross[ing] forestall[ing] or attempt[ing] to engross or forestall

any commodity.” Miss. Code Ann. § 75-21-3 (c); Georgia Pacific Corp. v. Cook Timber

Co., 194 So.3d 118, 121 (Miss. 2016). This statutory provision has three elements: [1]

unilateral action by a market participant, [2] engrossing or forestalling a commodity,

and [3] results that are inimical to the public welfare. Miss. Code Ann. § 75-21-3 (c).

The Mississippi Supreme Court has stated, “’engross,’ for antitrust purposes, means

‘to buy large quantities of (a stock or commodity) in an effort to corner the market

and control the price.’” Georgia Pacific, 194 So.3d at 122 (Miss. 2016) (quoting Black's

Law Dictionary 478 (abr. 9th ed.)). Also, in the same paragraph, the court stated,

“’forestall’ means ‘[t]o buy (goods) for the purpose of reselling at a higher price.’” Id.

       Defendants’ actions readily satisfy the first element— unilateral action by a

market participant. Defendants took unilateral action to nationalize and take over

companies who manufacture and produce PPE. The Defendants then sold PPE to the

U.S. market, thereby participating in the market as market participants. [Dkt. #1,

¶¶ 126-129 (citing Athey, Italy Gave China PPE to Help With Coronavirus — Then

China Made Them Buy It Back, THE SPECTATOR (April 4, 2020), available at:


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https://www.spectator.com.au/2020/04/italy-gave-china-ppe-to-help-with-

coronavirus-then-china-made-them-buy-it-back]. They further hoarded PPE and

interfered with supply and demand patterns, thereby unjustly enriching themselves

while trafficking PPE. [Dkt. #1,¶¶ 118-127, 130, 134-135 (citing Bradsher, The World

Needs Masks; Kaplan, Peter Navarro: China ‘Cornered’ the Personal Protective

Equipment Market; Eilperin, U.S. Sent Millions of Face Masks to China Early This

Year].

         Defendants’ actions also satisfy the second element — engrossing or

forestalling a commodity. Black’s Law Dictionary defines “engross” as “to buy large

quantities of (a stock or commodity) in an effort to corner the market and control the

price.’” Black's Law Dictionary, 478 (abr. 9th ed.). Defendants bought large quantities

of PPE. [Dkt. #1, ¶¶ 120-137]. They did this in an effort to corner the market. [Id. at

¶¶ 122, 134].

         Black’s Law Dictionary defines “forestall” as “[t]o buy (goods) for the purpose

of reselling at a higher price.” Black's Law Dictionary, 564 (abr. 9th ed.). Defendants

did this as well; they bought PPE and resold it at higher prices. [Dkt. #1, ¶¶ 1, 6

(“reselling substandard PPE...at inflated prices.”))].

         Lastly, Defendants’ actions satisfy the third element — the result of their

conduct was inimical to the public welfare. [Id. at ¶¶ 106-117 (citing Neuman, China

Raises Wuhan Death Stats; Mississippi Department of Health, Coronavirus Disease

2019                     (COVID-19),                       available                  at:

https://www.msdh.ms.gov/msdhsite/_static/14,0,420.html#Mississippi;              Bartash,



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Millions of Layoffs Set to Push Unemployment Rate to Highest Level since Great

Depression,       MARKET       WATCH        (May        4,         2020),    available      at:

https://www.marketwatch.com/story/millions-of-lost-jobs-may-push-unemployment-

rate-to-highest-since-great-depression-2020-05-02; Wolfe, Mississippi Is Fighting an

Uphill Battle With Jobless Claims. A Decades-Long Shift in Employment Strategy

Didn’t    Help,    MISSISSIPPI      TODAY        (May        3,     2020),   available      at:

https://mississippitoday.org/2020/05/03/mississippi-is-fighting-an-uphill-battle-with-

jobless-claims-a-decades-long-shift-in-employment-strategy-didnt-help/;            Ramsath,

'Deeply Disturbing': Coronavirus Impact on Mississippi's Economy, The Clarion-

Ledger                      (Mar.                            20,                         2020),

https://www.clarionledger.com/story/news/politics/2020/03/20/coronavirus-

impactmississippi-economy/2865088001/; Letter from Lieutenant Governor Delbert

Hosemann, Speaker of the House Philip Gunn, Senate Appropriations Chairman

Briggs Hopson, House Appropriations Chairman John Read (April 24, 2020))]. At

least 303 people in Mississippi died from COVID-19 as of May 2, 2020. [Id. at ¶ 106

(citing United States Centers for Disease Control and Prevention, Coronavirus

Disease     2019     (COVID-19),      Cases      in     the         U.S.,    available      at:

https://www.cdc.gov/coronavirus/2019-ncov/cases-updates/cases-in-us.html.)].

According to the Centers for Disease Control and Prevention, from January 1, 2020

to July 1, 2023, 14,726 Mississippians have died from COVID-19. [Fitzhugh,

Hospitals still seeing higher prices for PPE].




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      Many citizens suffered economic losses, as well. [Dkt. #1, at ¶¶ 109, 112]. Both

Mississippi and the citizens of this state suffered direct economic damages as a result

of the inflated prices for which the PPE was resold. Mississippi’s government entities

suffered direct economic losses as a result of the pandemic, including loss of revenues

and budgetary shortages, with direct effects on state services, state pension funds,

and many other state proprietary and economic interests. [Id. at ¶ 111]. All these

things are “inimical to public welfare.” Miss. Code Ann. § 75-21-3.

                   V. DAMAGES ARE PROPER IN THIS CASE

      The State will introduce evidence that a judgment awarding damages is proper

in this case. Specifically, the State will introduce the testimony of J. Corey Miller,

Mississippi’s State Economist. Mr. Miller has prepared a report that analyzes the

economic losses that the state suffered as a result of the pandemic. [Exhibit 12]. He

is expected to testify that total economic losses sustained by the state exceed

$12,000,000,000.00. [Id.].

                                 VI. CONCLUSION

      The evidence in this matter supports that the Defendants engaged in a

complex, long-running campaign to hoard PPE in the early days of the COVID-19

pandemic. Defendants did this while aggressively suppressing and misrepresenting

their knowledge of the virus, taking advantage of this fraud and misrepresentation

to further Defendants’ goals to hoard additional PPE. In the course of these actions,

Defendants breached the State’s consumer protection and antitrust laws.            The

Defendants’ actions directly harmed the State of Mississippi and its citizens.



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Defendants have refused to appear or otherwise answer for their actions, and each is

in default. Mississippi will provide sufficient evidence to demonstrate both

Defendants’ liabilities and Mississippi’s entitlement to damages. As such, Mississippi

is entitled to a default judgment against Defendants.

      For the foregoing reasons, the State of Mississippi respectfully requests that

this Court: (1) enter a judgment of liability against all Defendants; (2) issue an award

of damages against all Defendants in the amount this Court deems fair and

appropriate to remedy the damages suffered by the State and its citizens by

Defendants’ actions; (3) order that Defendants pay prejudgment and post judgment

interest on every amount of damages awarded by this court; and (4) award such

further relief as the Court deems just and appropriate.

      Respectfully submitted, this the 6th day of January, 2025.


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